     Case 2:05-cr-00020-LMA-AC          Document 593        Filed 09/14/06    Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                      *           CRIMINAL ACTION NO. 05-020

          v.                                  *           SECTION: “I” (5)

DAVID TYRONE MADISON                          *

                                        *      *      *

                                         ORDER
               Considering the foregoing motion;

               IT IS HEREBY ORDERED that, pursuant to U.S.S.G. § 3E1.1(b), the

Government’s motion is granted and, accordingly, the downward adjustment for defendant David

Tyrone Madison’s acceptance of responsibility, as demonstrated to the Court, should be three (3)

points.

               New Orleans, Louisiana, this ____               September
                                            13thday of ____________________, 2006




                                                   UNITED STATES DISTRICT JUDGE
